Case 2:22-cv-00688-JMY Document 167-3 Filed 05/28/24 Page 1 of 8




   EXHIBIT “B”
             Case 2:22-cv-00688-JMY Document 167-3 Filed 05/28/24 Page 2 of 8


  From: GARY LIGHTMAN garylightman@lightmanlaw.com
Subject: Fwd: Activity in Case 2:22-cv-00688-JMY AMERICAN ENVIRONMENTAL ENTERPRISES INC., D/B/A
         THESAFETYHOUSE.COM v. MANFRED STERNBERG, et al Order on Motion to Compel
   Date: April 11, 2024 at 11:42 AM
     To: Pat Healey phealey@rebarkelly.com
   Cc: Kim DiTomaso kditomaso@lightmanlaw.com, Glenn Manochi gmanochi@lightmanlaw.com, GARY LIGHTMAN ltag8r@me.com



      Patrick,

      Yesterday when we spoke you told me that you needed more time to
      comply with Judge Younge’s 4/1/24 Order Compelling Discovery from
      the Zekaria Defendants.

      We are willing to provide your clients one additional week, through
      April 17, 2024, for the Zekaria Defendants to produce full and
      complete answers to the Interrogatories and to the Document
      Requests (without objection), and to produce all remaining responsive
      documents, PROVIDED HOWEVER, that you email us — TODAY —
      with the retainer/escrow agreement that Daphna created on February
      6, 2022 (referred to in her WhatsApp text transcripts marked as DZ
      Deposition Exhibit-9).

      Please email us that document, today, if you want the extra one week
      extension.

      thx
      Gary Lightman
      cell 215-760-3000



        Begin forwarded message:

        From: GARY LIGHTMAN <garylightman@lightmanlaw.com>
        Subject: Fwd: Activity in Case 2:22-cv-00688-JMY AMERICAN
        ENVIRONMENTAL ENTERPRISES INC., D/B/A
        THESAFETYHOUSE.COM v. MANFRED STERNBERG, et al Order
        on Motion to Compel
        Date: April 1, 2024 at 10:43:56 AM EDT
        To: Pat Healey <phealey@rebarkelly.com>
        Cc: Cathleen Kelly Rebar <crebar@rebarkelly.com>, "Laver, Seth L."
   Case 2:22-cv-00688-JMY Document 167-3 Filed 05/28/24 Page 3 of 8

Cc: Cathleen Kelly Rebar <crebar@rebarkelly.com>, "Laver, Seth L."
<slaver@goldbergsegalla.com>, Joseph Ross
<jross@goldbergsegalla.com>, Gary Weiss
<wgary4109@gmail.com>, sam gross
<charltonholdinggroupllc@aol.com>, Sam Gross
<Scg1212@gmail.com>, Sam Gross <samrosinc@icloud.com>,
Glenn Manochi <gmanochi@lightmanlaw.com>, Kim DiTomaso
<kditomaso@lightmanlaw.com>, GARY LIGHTMAN
<ltag8r@me.com>

Patrick,

You are hereby served with the Order compelling discovery from the
Zekaria Defendants, entered by Judge Younge today in the above-
referenced case.

This will confirm that during our phone call of earlier today, we
requested that Daphna Zekaria bring with her to her deposition
tomorrow, at a minimum: (1) the retainer agreement that Gary Weiss
testified to during his deposition, and (2) all of the bank records for
her attorney escrow account (including the unredacted ones you
produced, as well as the other missing bank records).

thx
Gary Lightman
cell 215-760-3000

attachment (1)

KDT—pls dy 4/10 ddln for Zekaria to produce all of the other
discovery tg

 Begin forwarded message:


 From: ecf_paed@paed.uscourts.gov <ecf_paed@paed.uscourts.gov>
 Sent: Monday, April 1, 2024 9:03 AM
 To: paedmail@paed.uscourts.gov
 Subject: AcCvity in Case 2:22-cv-00688-JMY AMERICAN ENVIRONMENTAL ENTERPRISES INC.,
 D/B/A THESAFETYHOUSE.COM v. MANFRED STERNBERG, et al Order on MoCon to Compel
  Case 2:22-cv-00688-JMY Document 167-3 Filed 05/28/24 Page 4 of 8

D/B/A THESAFETYHOUSE.COM v. MANFRED STERNBERG, et al Order on MoCon to Compel



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                             Eastern District of Pennsylvania

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The following transacCon was entered on 4/1/2024 at 9:03 AM EDT and ﬁled on 4/1/2024
               AMERICAN ENVIRONMENTAL ENTERPRISES INC., D/B/A
Case Name:
               THESAFETYHOUSE.COM v. MANFRED STERNBERG, et al
Case Number: 2:22-cv-00688-JMY
Filer:
Document
               158
Number:


Docket Text:
ORDER THAT PLAINTIFFS MOTION TO COMPEL DISCOVERY FROM
DEFENDANTS DAPHNA ZEKARIA, ESQUIRE, AND SOKOLSKI & ZEKARIA,
P.C., AND AWARDING SANCTIONS IS GRANTED. WITHIN TEN (10) DAYS
OF THE DATE HEREOF, EACH OF THE ZEKARIA DEFENDANTS SHALL
DELIVER TO PLAINTIFF FULL AND COMPLETE VERIFIED ANSWERS TO
PLAINTIFFS INTERROGATORIES ADDRESSED TO THEM, WITHOUT
OBJECTIONS. WITHIN TEN (10) DAYS OF THE DATE HEREOF, EACH OF
THE ZEKARIA DEFENDANTS SHALL PRODUCE AND DELIVER TO
  Case 2:22-cv-00688-JMY Document 167-3 Filed 05/28/24 Page 5 of 8


PLAINTIFF THEIR WRITTEN RESPONSES TOGETHER WITH ALL
DOCUMENTS RESPONSIVE TO PLAINTIFFS REQUESTS FOR
PRODUCTION OF DOCUMENTS ADDRESSED TO THEM, WITHOUT
OBJECTIONS. SIGNED BY DISTRICT JUDGE JOHN M. YOUNGE ON
4/1/24.4/1/24 ENTERED AND COPIES E-MAILED.(amas)


2:22-cv-00688-JMY No4ce has been electronically mailed to:

GARY P. LIGHTMAN garylightman@lightmanlaw.com, gmanochi@lightmanlaw.com,
kditomaso@lightmanlaw.com

GLENN A. MANOCHI      gmanochi@lightmanlaw.com

CATHLEEN KELLY REBAR     crebar@rebarkelly.com, kciesielka@rebarkelly.com

SETH L. LAVER   slaver@goldbergsegalla.com, mgarrity@goldbergsegalla.com

AARON C. SCHLESINGER (Terminated)      aschlesinger@pecklaw.com

WILLIAM LYLE STAMPS     wlstamps@ckmo.com, lyle.stamps@gmail.com

JASON S. KANER (Terminated) Jason.Kaner@jacksonlewis.com, jason-kaner-
2909@ecf.pacerpro.com,philadelphiadockeCng@jacksonlewis.com

Joseph Ross jross@goldbergsegalla.com, eﬁlings.philly@kiernantrebach.com,
jmuller@goldbergsegalla.com, joeross@recap.email

2:22-cv-00688-JMY No4ce will not be electronically mailed to:

ASOLARDIAMOND, LLC


GARY WEISS
680 EVERGREEN PKWY
UNION, NJ 07083

Gary Weiss

The following document(s) are associated with this transacCon:


Document descrip4on:Main Document
Original ﬁlename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1001600548 [Date=4/1/2024] [FileNumber=19549175-0
] [28d58aj76d41bb956j1cfc365f9c1f765b5d7a47b8de1794c0d1e5bd7320eecf1
93049f42769502b58b929052f05746890975906d61af921a37c6ba97e1ea8]]
    Case 2:22-cv-00688-JMY Document 167-3 Filed 05/28/24 Page 6 of 8


  93049f42769502b58b929052f05746890975906d61af921a37c6ba97e1ea8]]




Doc 158 Judge
Younge…24.pdf




—
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LIGHTMAN & MANOCHI
cell: 215-760-3000
email: garylightman@lightmanlaw.com and Ltag8r@me.com


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